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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                   8:07CR259
       vs.                                     )
                                               )                     ORDER
RANDALL PARKER,                                )
                                               )
                     Defendant.                )


       This matter is before the court on the defendant's second motion to continue trial [83].
Based solely upon defense counsel's professional representation that he is unable to try this
case as scheduled because he now has "a conflicting pretrial setting on another matter in
Texas," the case will be continued to December 11, 2007. This is a final continuance.

        Turning to the defendant's motion for leave to file pretrial motions out of time [84],
the court finds that the defendant has not shown good cause for this extension. The matters
he apparently seeks to raise, i.e., the circumstances under which he made statements to law
enforcement, were known to the defendant at least as of the time of his arraignment and
could have been timely presented. In addition, the proposed Motion to Suppress [85],which
states in its entirety,

       Defendant, Randall Parker, requests that all statements made by him to any law
       enforcement officer be suppressed as they were not the result of a knowing,
       intentional, and voluntary waiver of his constitutional rights.

is deficient in that counsel has not filed any brief in support of the motion, as required by
NECrimR 12.3(b)(1) and paragraph 4 of the case progression order entered on September 5,
2007 [36]. This motion will be stricken.

       IT IS ORDERED:

       1. The trial of this matter is continued to December 11, 2007. This is a final
continuance.
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        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between November 16, 2007 and December 11, 2007, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

      3. Defendant shall file an affidavit or declaration regarding speedy trial in
accordance with NECrimR 12.1 and/or 12.3 no later than November 20, 2007.

       4. Defendant's motion for leave to file pretrial motions out of time [84] is denied.

      5. The untimely Motion to Suppress [85] is stricken from the record, as it was filed
without permission of the court and does not comply with the court's prior order or the
NECrimR 12.3(b)(1).

       DATED November 16, 2007.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge




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